Case 1:24-cv-01755-JPH-TAB           Document 1       Filed 10/04/24      Page 1 of 14 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA


 FCA US LLC,

                       Plaintiff,

                vs.

 THE INTERNATIONAL UNION, UNITED                    Case No.: 1:24-cv-01755
 AUTOMOBILE, AEROSPACE AND
 AGRICULTURAL IMPLEMENT WORKERS
 OF AMERICA (UAW), UAW LOCAL 1166,
 AND UAW LOCAL 685

                       Defendants.


                                          COMPLAINT

        Plaintiff FCA US LLC (“Stellantis” or “Plaintiff”), by its counsel, Morgan, Lewis &

 Bockius, LLP, brings this Complaint to prevent and/or remedy a breach of contract by Defendants

 International Union, United Automobile, Aerospace and Agricultural Implement Workers of

 America (“UAW”), UAW Local 1166, and UAW Local 685 (“Defendants”) by means of

 impermissible mid-contract strikes. During the 2023 collective bargaining negotiations, Stellantis

 and the UAW agreed to new language reflecting planned future investments in U.S. operations.

 This language, which is set forth in Letter 311 of the collective bargaining agreement (“CBA”)

 states, in relevant part, that Stellantis plans to make future investments in numerous plants

 throughout the life of the 2023 CBA, which expires in 2028, including investments in the idled

 plant in Belvidere, Illinois starting in 2024 and in the Detroit Assembly Complex in 2026.

        Letter 311 also explicitly states that the planned future investments set forth in the letter

 “are subject to approval by the Stellantis product Allocation Committee and contingent upon plant

 performance, changes in market conditions, and consumer demand continuing to generate
Case 1:24-cv-01755-JPH-TAB            Document 1        Filed 10/04/24      Page 2 of 14 PageID #: 2




 sustainable and profitable volumes. . . .” In other words, the planned future investments in the letter

 are conditional, require Company approval, and are subject to change based on these business

 factor contingencies.

        Ignoring this negotiated-for and mutually agreed-upon language in Letter 311, the UAW

 and its agents, including President Shawn Fain, have embarked on a sustained, multi-month

 campaign against the Company to force the planned investments without Company approval and

 regardless of business factors. Fain baselessly alleged Stellantis engaged in “serious violations”

 of the CBA and recommended to the UAW membership that they authorize a strike. The UAW

 and its agents also have filed sham grievances designed to justify mid-contract strikes against

 Stellantis that otherwise would violate the CBA’s no strike clause. Based on Defendants’

 misconduct and ongoing strike threats, Stellantis respectfully and urgently seeks the Court’s

 intervention to declare that Defendants cannot ignore the plain language in Letter 311, Defendants’

 sham grievances do not authorize Defendants to engage in mid-contract strikes, and Defendants

 have acted in bad faith and thus violated the implied covenant of good faith and fair dealing

 incorporated into the CBA under Section 301 of the Labor Management Relations Act. And to

 the extent that Defendants carry out any mid-contract strikes that violate these commitments, the

 Court should award Stellantis monetary damages that result from Defendants’ breach.

        I.      SUMMARY OF ACTION

       1.       This action is brought pursuant to the Labor Management Relations Act

 (“LMRA”), Section 301, 29 U.S.C. § 185, against the International Union, United Automobile,

 Aerospace and Agricultural Implement Workers of America (“UAW”), UAW Local 1166, and

 UAW Local 685 (“Defendants”). By this action, Plaintiff: (i) seeks a declaration that the UAW

 may not strike based on bad faith, sham grievances demanding investments set forth in Letter 311




                                                  -2-
Case 1:24-cv-01755-JPH-TAB          Document 1       Filed 10/04/24     Page 3 of 14 PageID #: 3




 of the CBA be implemented immediately because such investments are expressly subject to

 approval by Stellantis and contingent upon factors including plant performance, changes in market

 conditions, and consumer demand; and (ii) seeks monetary damages from Defendants for the

 substantial economic harm from any impermissible work stoppages that occur in violation of

 Defendants’ contractual and legal commitments.

       2.       Plaintiff and Defendants are parties to a 2023 National Production, Maintenance,

 & Parts Agreement entered into in 2023 and expiring in 2028 (“CBA”).

       3.       The CBA includes Letter 311, which summarizes Stellantis’ “planned future

 investments” in numerous plants, including the Belvidere Assembly Plant and Detroit Assembly

 Complex. Attached hereto as Exhibit A, and incorporated herein by this reference, is Letter 311.

 But Letter 311 also provides that these planned future investments are “subject to approval by the

 Stellantis product Allocation Committee and contingent upon plant performance, changes in

 market conditions, and consumer demand continuing to generate sustainable and profitable

 volumes for all of the U.S. Manufacturing facilities.” Ex. A.

       4.       Defendants, and in particular, UAW President Shawn Fain, seek to unilaterally

 invalidate Letter 311’s business factor contingencies. They ignore Letter 311’s plain language—

 language that the UAW negotiated and agreed to—and insist that the Company immediately move

 forward with all the planned investments.

       5.       Defendants have acted in bad faith by going on a publicity campaign, filing sham

 grievances ignoring Letter 311’s conditions, and now calling a vote to authorize a strike based on

 these bad faith grievances.

       6.       Defendants’ actions and demands are clearly contrary to the parties’ CBA. The

 Court should issue a declaratory judgment that Defendants cannot ignore the plain language in




                                               -3-
Case 1:24-cv-01755-JPH-TAB           Document 1       Filed 10/04/24     Page 4 of 14 PageID #: 4




 Letter 311, and that Defendants’ sham grievances do not authorize Defendants to engage in mid-

 contract strikes. And Defendants’ attempts to undermine and frustrate Letter 311’s negotiated and

 agreed-upon conditional language also constitute a breach of the implied covenant of good faith

 and fair dealing under the CBA.

        II.     THE PARTIES

       7.       Plaintiff is a limited liability company headquartered in Auburn Hills, Michigan

 and incorporated in the State of Delaware. Plaintiff is engaged in the manufacture and sale of

 automotive products in interstate commerce and is an employer in an industry affecting commerce,

 within the meaning of § 301 of the LMRA, and the definitions contained in §§ 2(2) and 501(1) and

 (3) of the LMRA, 29 U.S.C. § 152(2) and 29 U.S.C. § 142(1), (3).

       8.       Defendant UAW is a labor organization representing employees in an industry

 affecting commerce within the meaning of 29 U.S.C. §§ 152(5), 185, and is the bargaining

 representative for Plaintiff’s employees.

       9.       Defendant UAW Local 1166 is a labor organization representing employees in an

 industry affecting commerce within the meaning of 29 U.S.C. §§ 152(5), 185. The UAW and

 Local 1166 are the duly certified, exclusive bargaining representative for Plaintiff’s employees at

 Kokomo Casting and, as such, are both labor organizations representing employees in an industry

 affecting commerce within the meaning of Section 301 of the LMRA, 29 U.S.C. § 185.

       10.      Defendant UAW Local 685 is a labor organization representing employees in an

 industry affecting commerce within the meaning of 29 U.S.C. §§ 152(5), 185. The UAW and

 Local 685 are the duly certified, exclusive bargaining representative for Plaintiff’s employees at

 Kokomo Transmission and, as such, are both labor organizations representing employees in an

 industry affecting commerce within the meaning of Section 301 of the LMRA, 29 U.S.C. § 185.




                                                -4-
Case 1:24-cv-01755-JPH-TAB          Document 1        Filed 10/04/24      Page 5 of 14 PageID #: 5




         III.   JURISDICTION AND VENUE

       11.      This is an action between an employer and labor organizations representing

 employees in an industry affecting commerce within the meaning of Section 301 of the LMRA,

 29 U.S.C. § 185, therefore this Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

       12.      Venue is proper within this judicial district pursuant to 28 U.S.C. § 1391(b) because

 a substantial part of the events or omissions giving rise to the claims occurred in this judicial

 district and because Defendants are labor organizations under Section 301 of the LMRA, 29 U.S.C.

 § 185, and Local 1166 and Local 685 maintains their principal offices and places of business in

 Kokomo, Indiana.

        IV.     COLLECTIVE BARGAINING AGREEMENT AND LETTER 311

        13.     Letter 311, which is part of the CBA, sets forth Stellantis’ planned future

 investments of approximately $18.9 billion in a number of plants throughout the life of the 2023

 CBA, which expires in 2028.

        14.     Stellantis has finalized its plans for certain investments referenced in Letter 311

 and, to date, has announced $6.2 billion in investments in Kokomo and recently announced $400

 million in Michigan investments.

        15.     Among other items, Letter 311 lists the following planned future investments in the

 Belvidere Assembly Plant: (1) launch a consolidated Mopar Mega Hub in 2024; (2) launch

 stamping operations in 2025; and (3) allocate a new midsize truck in 2027.

        16.     Letter 311 also indicates a planned future investment for the next generation

 Durango (D6U) in 2026 for the Detroit Assembly Complex.

        17.     Letter 311 also expressly provides that, due to the “unpredictability” of “highly

 volatile” vehicle markets, all of these planned future investments are subject to committee




                                                -5-
Case 1:24-cv-01755-JPH-TAB            Document 1      Filed 10/04/24      Page 6 of 14 PageID #: 6




 approval, and contingent upon plant performance, market conditions and consumer demands.

 Specifically, Letter 311 provides:

        The parties understand and agree that the global and North American economies

        and vehicle markets remain highly volatile and, as such, continue to be

        unpredictable. Further unpredictability with volumes and mix is anticipated with

        the introduction of E,V. product offerings within our vehicle lineup. Accordingly,

        it is understood that the product investment and employment level numbers set

        forth [in Letter 311] are subject to approval by the Stellantis product Allocation

        Committee and contingent upon plant performance, changes in market conditions,

        and consumer demand continuing to generate sustainable and profitable volumes

        for all of the U.S. manufacturing facilities described [in Letter 311].

        18.     Letter 311 further explains that “Stellantis is committed to establish long-term

 stability and job security for the U.S. workforce” and that, in turn, the Union “ understands that

 product allocation is achieved through strong and sustained plant performance and is committed

 to enable Company success and thereby help create stability and security for employees.” Ex. A.

        19.     Section 5 of the CBA states that “[t]he Union will not cause or permit its members

 to cause nor will any member of the Union take part in any strike or stoppage of any of the

 Company’s operations or picket any of the Company’s plants or premises until all the grievance

 procedure as outlined in this Agreement has been exhausted, and in no case over a matter on which

 the Appeal Board has power, and authority to rule. . . .”

        20.     Section 29 of the CBA exempts disputes regarding Letter 311 from the Appeal

 Board’s (arbitration) jurisdiction and processes.




                                                -6-
Case 1:24-cv-01755-JPH-TAB             Document 1     Filed 10/04/24      Page 7 of 14 PageID #: 7




        21.     Based on Section 5 and 29, absent a bona fide and good faith dispute over Letter

 311 compliance, Defendants cannot rely on Letter 311 as a basis to engage in mid-contract strikes

 against the Company to force investments that effectively void negotiated-for and mutually

 agreed-upon language in Letter 311.

        V.      THE UAW PUBLICLY MISREPRESENTS LETTER 311’S TERMS

        22.     The UAW has conducted a sustained campaign attempting to thwart the provisions

 of Letter 311 and force Stellantis to implement the Letter’s planned future investments irrespective

 of Company approval and business factors such as market conditions or consumer demand.

        23.     As far back as November 2023, the UAW published a message to its members

 describing the planned future investments in the Belvidere Assembly Plant as unconditional

 commitments by Stellantis, but without informing membership that they were subject to approval

 by Stellantis and contingent upon business factors such as market conditions and consumer

 demand. In August 2024, the UAW launched a national publicity campaign misrepresenting that

 the planned future investments in Letter 311 were absolute commitments and ignoring the business

 factor contingencies in Letter 311.

        24.     More recently, UAW President Shawn Fain has repeatedly misrepresented Letter

 311 as a “guarantee” of immediate investments in Belvidere. By doing so, Fain has intentionally

 misled UAW members and the public by failing to acknowledge the plain language of Letter 311—

 language the UAW negotiated and agreed to—providing that the planned future investments are

 subject to approval by Stellantis and contingent on business factors including market conditions

 and consumer demand. The following are examples of the UAW and Fain’s misrepresentations:




                                                -7-
Case 1:24-cv-01755-JPH-TAB            Document 1         Filed 10/04/24   Page 8 of 14 PageID #: 8




                 In August 2024, the UAW created a website “Stellantis: Keep the Promise”

 dedicated to Letter 311 grievances.1 In a “Letter to the Membership” published on the website Fain

 mischaracterized the Belvidere investment timeline as “commitments” Stellantis allegedly failed

 to honor.

                 On August 19, 2024, during a speech at the Democratic National Convention, Fain

 claimed that Stellantis promised to reopen a plant and is trying to back out of that promise without

 reference to Letter 311’s conditions.2 That same day, the UAW issued a statement announcing its

 intention to file grievances over Letter 311, again, without reference to the contractual market

 conditions contingencies in Letter 311.3

                 On August 20, 2024, Fain was quoted in a Bloomberg Law article claiming

 Stellantis “promise[d]” to reopen Belvidere without referencing the Letter’s conditions.4

                 On September 15, 2024, Fain wrote an Op-Ed in the Detroit News, referring to the

 Belvidere allocations as “commitments” and “promises” without referencing Letter 311’s

 contractual conditions.5



 1
     See https://stellantis.uaw.org/?source=2023button
 2
     See https://www.youtube.com/watch?v=pZ9WinNzBK8 (5:45 – 7:00).
 3
    See https://uaw.org/uaw-stellantis-locals-prepare-grievances-over-companys-failure-to-keep-
 product-commitments-paving-way-for-strike-action-if-necessary/
 4
   See BLOOMBERG, UAW Threatens Stellantis Strike Ahead of Boss’s Attach, available at
 https://www.bloomberg.com/news/articles/2024-08-20/uaw-president-fain-calls-out-stellantis-at-
 democratic-convention
 5
    See DETROIT NEWS, Stellantis must keep its promises to autoworkers, available at
 https://www.detroitnews.com/story/opinion/columnists/labor-voices/2024/09/15/labor-voices-
 stellantis-must-keep-its-promises-to-
 autoworkers/75203125007/#:~:text=Last%20month%2C%20the%20UAW%20launched,to%20s
 trike%20over%20those%20commitments



                                                 -8-
Case 1:24-cv-01755-JPH-TAB            Document 1        Filed 10/04/24      Page 9 of 14 PageID #: 9




               On September 17, 2024, Fain hosted a Facebook Live speech and misrepresented

 Letter 311, misinformed his members and the public, and attacked the Company and its leadership

 stating, among other things, “Those investment commitments weren’t just words on paper.” … “In

 our 2023 negotiations, we secured $19 billion in product & investment commitments from

 Stellantis” … “So we’re damn sure not going to turn around and just let Stellantis violate our

 agreement and destroy thousands of good blue-collar jobs in America.” … “Right now, the

 company is planning to violate this agreement.” … “But pushing the product outside the date of

 the agreement means we have no agreement.” … “We will also be holding strike authorization

 votes at one or more Stellantis locals.”

               On September 27, 2024, Fain wrote a letter to the UAW Stellantis Council falsely

 alleging Stellantis engaged in “serious violations of our contract and patterns of illegal behavior”

 and that Fain had recommended “to the membership that every UAW worker at Stellantis prepare

 for a fight, and we all get ready to vote YES to authorize a strike at Stellantis.”

        VI.     THE UAW FILES MULTIPLE                       SHAM GRIEVANCES             AGAINST
                STELLANTIS

        25.     The UAW and its local chapters recently filed a bevy of sham grievances regarding

 Letter 311’s planned investments. All of the grievances disregard—and indeed, do not even

 mention—the express business factor contingencies that must be taken into account for the planned

 investments under the Letter.

        26.     Upon information and belief, these grievances were coordinated by the UAW to

 each of the local unions, including Local 1166 and Local 685.

        27.     Numerous UAW local unions filed virtually identical grievances claiming that

 Stellantis is violating Letter 311 and demanding that the Belvidere investments proceed without




                                                  -9-
Case 1:24-cv-01755-JPH-TAB            Document 1 Filed 10/04/24            Page 10 of 14 PageID #:
                                               10



 approval by the Company and on a timeline that does not take into account the business factor

 contingencies.

        28.       The UAW and Local 685 filed a grievance for Kokomo Transmission on August

 16, 2024, and the UAW and Local 1166 filed a grievance for Kokomo Casting on August 19, 2024.

 Both grievances allege that the Company’s alleged “failure to plan for, fund, and launch these

 programs,” including the planned investments at Belvidere, constitute a violation of Letter 311,

 and demand that the “Company rescind its decision to push back the above-referenced launches

 and immediately plan for and fund the Belvidere investments in order to comply with the agreed

 upon timeline for launching” the planned investments in Belvidere, without referencing the

 business factor contingencies.

        29.       The UAW and several local unions also filed virtually identical grievances claiming

 that Stellantis is violating the CBA by not yet implementing planned future investment for the next

 generation Durango (D6U) in 2026 for the Detroit Assembly Complex—again, without mention

 of the contractually-mandated business factor contingencies.

        VII.      THE UAW CALLS FOR A STRIKE BASED ON THE SHAM GRIEVANCES

        30.       Just as Fain threatened during his Facebook live speech, the UAW is now urging

 its members to strike. In a recent letter, Fain and the UAW “unanimously recommend[ed] to the

 membership that every UAW worker at Stellantis prepare for a fight, and we all get ready to vote

 yes to authorize a strike.”6




 6
   See DETROIT FREE PRESS, September 27, 2024, Fain letter urges UAW Stellantis members to be
 ready              to           OK                strike,            available            at
 https://www.freep.com/story/money/cars/chrysler/2024/09/27/uaws-fain-letter-stellantis-
 strike/75420597007/



                                                 - 10 -
Case 1:24-cv-01755-JPH-TAB            Document 1 Filed 10/04/24             Page 11 of 14 PageID #:
                                               11



        31.     As mentioned, Section 5 of the CBA prohibits mid-contract strikes except in

 exceptional circumstances and not until all grievance procedures have been exhausted. The

 UAW’s sham grievances are in bad faith and a pretext for an impermissible strike.

        32.     In response to the UAW’s bad faith publicity campaign and threats, on or about

 September 23, 2024 Stellantis informed Fain and the UAW that—under the plain language of

 Letter 311’s conditions—there was no legitimate dispute over Letter 311 compliance. Letter 311’s

 planned investments and employment levels are “subject to” committee approval and “contingent

 upon” factors such as plant performance, market conditions, and consumer demand. Letter 311’s

 conditions, as agreed upon by the UAW and Stellantis, reflect the reality that if the demand for

 Stellantis’ vehicles changes, then Stellantis’ planned investments could be subject to change. This

 language is plainly written in Letter 311 and cannot be a matter of legitimate dispute.

        33.     But Defendants have nonetheless marched forward with their scheme to pressure

 Stellantis to set aside Letter 311’s business factor contingencies and unilaterally convert the

 planned investments to unconditional, fixed investments. Upon information and belief, the UAW

 has directed its local unions to call strike authorization votes linked to the sham grievances, and at

 least two local unions already held strike authorization votes.

        34.     By making these material misrepresentations to the public and UAW members that

 ignore the language of Letter 311, by filing sham grievances that ignore the language of Letter

 311, and by now calling a vote to strike over a purported dispute that ignores the language of Letter

 311, Defendants have acted in bad faith and with an intent to breach the CBA. Their scheme is

 intended to deprive Stellantis of its rights pursuant to Section 311’s business factor contingencies

 and frustrate the purpose of the parties’ CBA. Substantial investments and business decisions are




                                                 - 11 -
Case 1:24-cv-01755-JPH-TAB           Document 1 Filed 10/04/24            Page 12 of 14 PageID #:
                                              12



 at issue. The UAW cannot force Stellantis to surrender its rights under the parties’ agreement by

 filing bad faith, sham grievances to setup impermissible mid-contract strikes.

         35.     Thus, Stellantis brings this action for a declaratory judgment that Defendants

 cannot ignore the plain language of Letter 311 and that the pending grievances filed by Defendants

 are not a legitimate basis to strike under Section 5 of the CBA. Stellantis also seeks relief based

 on Defendants’ violations of the implied covenant of good faith and fair dealing under the CBA.

                                           COUNT ONE:

    DECLARATORY JUDGMENT THAT DEFENDANTS CANNOT IGNORE THE
  LANGUAGE OF LETTER 311 AND DEFENDANTS’ SHAM GRIEVANCES DO NOT
                AUTHORIZE A MID-CONTRACT STRIKE

         36.     Plaintiff repeats, realleges, and incorporates by reference paragraphs 1- 35 above.

         37.     Letter 311 expressly makes its planned investments and employment levels

 “subject to” committee approval and “contingent upon” plant performance, market conditions, and

 consumer demand.

         38.     Nonetheless, Defendants have demanded that planned investments in Belvidere,

 Illinois and the Detroit Assembly Complex are not subject to these conditions and are instead fixed

 commitments that must be acted upon irrespective of the conditions outlined in Letter 311.

 Defendants have so argued in public pronouncements, in their CBA grievances, and now in

 threatening to strike.

         39.     Defendants request the Court resolve the controversy by issuing a declaratory

 judgment that Defendants cannot ignore the plain language in Letter 311 and that the pending

 grievances do not authorize Defendants to engage in a mid-contract strike.

                                          COUNT TWO:

                            BREACH OF IMPLIED COVENANT OF
                             GOOD FAITH AND FAIR DEALING



                                                - 12 -
Case 1:24-cv-01755-JPH-TAB            Document 1 Filed 10/04/24             Page 13 of 14 PageID #:
                                               13



        40.     Plaintiff repeats, realleges, and incorporates by reference paragraphs 1-39 above.

        41.     The parties entered into a valid contract – the 2023 CBA. Plaintiff has performed

 under the CBA.

        42.     The parties’ CBA contains an implied covenant of good faith and fair dealing under

 Section 301 of the Labor Management Relations Act.

        43.     Defendants have, in bad faith, prevented Plaintiff from exercising its rights and

 receiving the benefits provided to Stellantis under the CBA. The CBA’s Letter 311 contains

 conditional language providing that planned investments are “subject to approval by the Stellantis

 product Allocation Committee and contingent upon plant performance, changes in market

 conditions, and consumer demand continuing to generate sustainable and profitable volumes for

 all of the U.S. manufacturing facilities described.”

        44.     As explained above, the UAW acted in bad faith by disregarding this language,

 filing sham grievances, and calling a strike authorization vote to pressure Stellantis to proceed with

 planned investments irrespective of Letter 311’s conditions.

        45.     Defendants’ publicity campaign, bad faith grievances, and intent to strike are aimed

 to frustrate the purpose of Letter 311 and undermine its conditional language.

       WHEREFORE, Plaintiff prays:

        1.      That the Court declare the pending grievances expressly conflict with Letter 311

 and that Defendants cannot ignore the plain language of Letter 311;

        2.      That the Court declare that any resulting strike by the Defendants based on the

 pending grievances is a breach of Section 5;

        3.      That the Court find that the Defendants have violated the implied covenant of good

 faith and fair dealing based on their actions;




                                                  - 13 -
Case 1:24-cv-01755-JPH-TAB           Document 1 Filed 10/04/24              Page 14 of 14 PageID #:
                                              14



        4.      That the Court award Plaintiff damages for the substantial economic harm that

 would be caused by any work stoppage engaged in by Defendants that breaches Section 5 of the

 CBA;

        5.      That the Court award Plaintiff its reasonable attorneys’ fees and costs incurred in

 bringing this action;

        6.      That the Court grant Plaintiff such other and further relief as this Court deems just

 and proper.

                                                        Respectfully submitted,

 Dated: October 4, 2024                           MORGAN, LEWIS & BOCKIUS LLP

                                                  By: /s/ Stephanie Sweitzer
                                                  Stephanie Sweitzer
                                                  110 North Wacker Drive
                                                  Chicago, IL 60606-1511
                                                  Tel: +1.312.324.1000
                                                  Fax: +1.312.324.1001
                                                  stephanie.sweitzer@morganlewis.com

                                                  W. John Lee, pro hac vice forthcoming
                                                  2222 Market Street
                                                  Philadelphia, PA 19103-3007
                                                  Tel: +1.215.963.5000
                                                  Fax: +1.215.963-5001
                                                  w.john.lee@morganlewis.com

                                                  David Broderdorf, pro hac vice forthcoming
                                                  1111 Pennsylvania Avenue, NW
                                                  Washington, DC 20004-2541
                                                  Tel: +1.202.739.3000
                                                  Fax: +1.202.739.3001
                                                  david.broderdorf@morganlewis.com

                                                  Attorneys for Plaintiff
                                                  FCA US LLC




                                               - 14 -
